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                        IN THE UNITED STATES COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :              CR#22-0074
                                             :
              v.                             :
                                             :
RACHEL MYERS                                 :


       MOTION TO MODIFY CONDITIONS OF PRE-TRIAL RELEASE:
            PERMISSION TO TRAVEL TO BALTIMORE, MD.


    TO THE HONORABLE JIA M. COBB, JUDGE OF THE UNITED STATES
COURT FOR THE DISTRICT OF COLUMBIA:

        AND NOW COMES THE DEFENDANT RACHEL MYERS, by and through
her attorney Thomas F. Burke, Esquire, who hereby avers the following facts and
requests the following relief:

   1. Rachel Myers was charged by way of complaint with Entering into a Restricted
      Building or Grounds and Disorderly Conduct on Capital Grounds, in violation of
      18 U.S.C. §1752(a)(1) and 40 U.S.C. 5104(e)(2)(D) and (G).

   2. The defendant was arrested by way of an arrest warrant in November of 2021, and
      appeared before D.C. Magistrate Judge Zia Faruqui, December 9, 2021 where she
      entered a plea of not guilty. Judge Faruqui ordered standard conditions of release
      including restricting the defendant’s travel to the Eastern District of Pennsylvania.
      This Court later expanded her travel restrictions to include the State of New
      Jersey.

   3. On November 15, 2022, the defendant entered a plea of guilty before this Court to
      one count of Parading, Demonstrating or Picketing in a Capital Building in
      violation of 18 USC §5104(e)(2)(G). Sentencing is currently set for February 16,
      2023.

   4. The defendant would like to celebrate the birthday of her best friend in New York
      City from February 6th through February 9th. If permitted to go, Ms. Myers would
      stay at the Hard Rock Hotel located at 159 W. 48th Street, New York, NY
   5. Counsel for the defendant has spoken to assigned AUSA Eric Boylan regarding
      this request, and he has no objections.

   6. The assigned pre-trial officer has also been notified of this request and has no
      objections.
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WHEREFORE, the defendant Rachel Myers respectfully requests this Court Modify her
Conditions of Pre-Trial Release and allow her to travel to Baltimore, MD from December
31, 2022 through January 3, 2023.



                                           Respectfully submitted,

                                           Thomas F. Burke, Esquire
                                           Thomas F. Burke, Esquire
                                           Counsel to Rachel Myers
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                        IN THE UNITED STATES COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :              CR#22-0074
                                           :
              v.                           :
                                           :
RACHEL MYERS                               :



                                           ORDER



       AND NOW, this __________________ day of ___________________, 2023,

upon consideration of the attached Motion to Modify Conditions of Pre-Trial Release,

and there being no objections thereto by the government, said Motion is GRANTED.

The defendant may travel to New York City from February 6th through February 9, 2023.



                                    BY THE COURT:




                                    _________________________________

                                                                 J.




                           CERTIFICATE OF SERVICE
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       I, Thomas F. Burke, Esquire, hereby certify that I have sent a true and correct

copy of the foregoing Motion to Modify Conditions of Pre-Trial Release to the following

persons this day via the ECF filing system.



AUSA Eric Boylan
Federal District of Columbia


Date: 2/2/2023


                                                            /s/ Thomas F. Burke, Esquire
                                                            Thomas F. Burke, Esquire
                                                            Counsel to Rachel Myers
